Case 1:11-cv-02778-WSD Document 51-1 Filed 12/23/11 Page 1 of 25




                    EXHIBIT A
Case 1:11-cv-02778-WSD Document 51-1 Filed 12/23/11 Page 2 of 25
Case 1:11-cv-02778-WSD Document 51-1 Filed 12/23/11 Page 3 of 25
Case 1:11-cv-02778-WSD Document 51-1 Filed 12/23/11 Page 4 of 25
Case 1:11-cv-02778-WSD Document 51-1 Filed 12/23/11 Page 5 of 25
Case 1:11-cv-02778-WSD Document 51-1 Filed 12/23/11 Page 6 of 25
Case 1:11-cv-02778-WSD Document 51-1 Filed 12/23/11 Page 7 of 25
Case 1:11-cv-02778-WSD Document 51-1 Filed 12/23/11 Page 8 of 25
Case 1:11-cv-02778-WSD Document 51-1 Filed 12/23/11 Page 9 of 25
Case 1:11-cv-02778-WSD Document 51-1 Filed 12/23/11 Page 10 of 25
Case 1:11-cv-02778-WSD Document 51-1 Filed 12/23/11 Page 11 of 25
Case 1:11-cv-02778-WSD Document 51-1 Filed 12/23/11 Page 12 of 25
Case 1:11-cv-02778-WSD Document 51-1 Filed 12/23/11 Page 13 of 25
Case 1:11-cv-02778-WSD Document 51-1 Filed 12/23/11 Page 14 of 25
Case 1:11-cv-02778-WSD Document 51-1 Filed 12/23/11 Page 15 of 25
Case 1:11-cv-02778-WSD Document 51-1 Filed 12/23/11 Page 16 of 25
Case 1:11-cv-02778-WSD Document 51-1 Filed 12/23/11 Page 17 of 25
Case 1:11-cv-02778-WSD Document 51-1 Filed 12/23/11 Page 18 of 25
Case 1:11-cv-02778-WSD Document 51-1 Filed 12/23/11 Page 19 of 25
Case 1:11-cv-02778-WSD Document 51-1 Filed 12/23/11 Page 20 of 25
Case 1:11-cv-02778-WSD Document 51-1 Filed 12/23/11 Page 21 of 25
Case 1:11-cv-02778-WSD Document 51-1 Filed 12/23/11 Page 22 of 25
Case 1:11-cv-02778-WSD Document 51-1 Filed 12/23/11 Page 23 of 25
Case 1:11-cv-02778-WSD Document 51-1 Filed 12/23/11 Page 24 of 25
Case 1:11-cv-02778-WSD Document 51-1 Filed 12/23/11 Page 25 of 25
